Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 1 of 19 Pageid#: 1508


                                                                                                     CLERK'
                                                                                                          S OFFICE .
                                                                                                            A      U S.DISXK URI
                                                                                                             TROANOKE, VA
                                                                                                                FILED
                            IN TH E UN ITED STATES DISTRICT COURT
                           FO R TH E W E STE RN D IST RICT O F W RGIN IA                                         étlg g zgjj
                                    H ARRISO N BU RG D IW SION
                                                                                                        JU           rpLsx c:
                                                                                                       BK

  CA RY H IX SO N ,

         Plaintiffy                                                   CivilAction N os.5:17-cv-00032
                                                                                       5:18-cv-00001

                                                                      By:H on.M ichaelF.U rbansld
  BRYU H UTCH ESON ,eta1.                                             ChiefUnited StatesD istdctJudge
         D efendants.



                                       M EM O RAN D U M O PIN ION

            PlaintiffCG Hixson,an insulin-dependentdiabeéc,allegeshe wasdenied insulin

  whileincarceratedatHarrisonburg-Rockingham RegionallailrfHRRJ'').Hixson'sSecond
  Amended ComplaintforM onetaryDamages(theT<SAC'?),ECF No.125,taisesvatious
   clnimsagainstDefendantsDr.MichaelMoran,KatherineRaynes,JanelleSeekford
   (collectivelywithRaynes,theTfNurseDefendants'),SoutheznHealthPnttners,Inc.CSHP'')
  Rockingham County,Vitginia('flkocldngham'),and theCityofHm isonburg,Virgirlia
   r<Harrisonburg,''and collecdvrlywit.hRocldngham,the'ftMunicipalDefendants').
            Thism attercom esbefotethecoutton theN urse D efendants'and M unicipal

  D efendants'M oéonsto D isrniss.ECF N os.132,146 & 151.Forthe zeasonsdiscussed

   below,the cotzrtwillGRAN T in partand D EN Y in parttheM odonsto D isnziss.1

                                                                                                          .,  7*'.
                                                                                                         '
                                                                                                         'a
     .
  1Hlxson'sFirstAm endedCom plaint,ECFN o.34,nam edBryan Hutchesonand SteveShortellasadclidoiïe        dlbdTêefendants.
  H utcheson and Shoztellhave m oved to dismisstheSA C asagainstthem ,alleging thatffthey arenotspeciEcally' .ham ed irl
   the(SAQ norazeanyallegationsmadeagainstthem asindividualpardes.''Defs.Hutcheson& Shoztell'sMot.Dismiss
   SAC,ECFNo.137.ShortellisnotmendonedintheV C.Whilecertainallegadonsconcem Hutcheson,noneofthe
   countsintheSAcnamesHutcheson.Accordingly,thlstmz'
                                                   twillGRANT HutchesonandShortell'smodontodismiss.
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 2 of 19 Pageid#: 1509




                                              1.      Allegations

        ,   PlainéffCaryH ixson isa54-year-old m an w ho was,atallrelevantdm es,diagnosed

  w1t.
     1'
      1insulin-dependentdiabetes.zSAC !!6,137.Hixsonwaspreviouslyincarcerated at
  HRRJforsixmonths,butisnotcurrentlyincarcerated.J-I.
                                                    L!(!6,121.Hixsondoesnotplead
  the exactdatesduring which hewasincarcerated.

            SheriffBryanHutchesonwasthejailadministratorofHILRJ.J-i.! 126.Dr.M oran
  wasameclicaldoctoremployedbyHRRJ.Lda! 7.Additionally,Dr.Moranwasemployedby,
   and ffworkingonbehalfof,''Rocldngham Countyffgfjrom atleastAugust1,2016thtough
  January29,2017.''Id.jj102,105.SHPisaregionz healthcareproviderthatemploysand
   contractswithmedicalcareprofessionalstoprovidecatetoinmatesatHRRJ.J-
                                                                      d.a!16.
  NursesKatherineRaynesandlanelleSeekfordwerenursesemployed by SHP to provide
  medicalcaretoinmatesofHILRJ.Ld.a!! 10,13.
            SHP wasundezcontractto providemedicalservicesatHRRJ.JA ! 49.Ptiorto
   I-lixson'sincarceration atHILRJ,HILRJ,Hutcheson,andDr.Moran developed apolicythat
   prohibited allstaffatHRRJ,includingmedicalstaff,from providingmedicadon,inclucling
  insulin,todiabedcshousedatHRRJ.Id.!!g144,157.
            Upon incatceration atHRRJ,SHP performed amedicalscreening ofHixson.Lda
  ! 21.Hixsoninformed SHP personnelthathewasdiagnosedwith diabetesand neededto
   takem edicadon,includinginsulin,to conttolllisdiabetes.J-1.
                                                             LTheNurseD efendants
  review ed Hixson'sm edicalftlesand confirm ed he needed m edication,including insulin,as

  Adclidonally,H ixsonand theN lzrseD efendantshaveftled aConsentM odonto D eem asM oottheCom plaintFiled
  AgainsttheNurseDefendantsPriortoPlaindff'sSecondAmendedComplaintttheffconsentMotion''
                                                                                      ),ECFNo,126.
  The courtwillGRAN T the ConsentM odon and deem the SA C the operadvecom plaintagainstalldefendants.
  2Al1factsherein aretaken from theSAC,the allegadonsofwhich atthisstage thecout
                                                                               'tm usttake astrue.SeeCoo erv.
   Pate,378U.S.546,546(1964)@ercudam).
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 3 of 19 Pageid#: 1510




  wellasadiabeécdiet,totteatlaiscliabetes.1d.!23.Dr.MoranreviewedHixson'smedical
  fllesand knew thatHixson requiredtzeatnentforhisdiabetes.Ld.a! 109.
         Asordezed byD r.M oran,the N urseD efendantstook Hixson'sblood sugarlevels

  dailyatotalof150 Hmes,andeach readingwasrecorded onan SHP form.Id.I;!J27-28,112.
  W hileablood-sugarlevelbelow 110mg/dT-isconsidetednormal,Hixson'sblood-sugar
  ,




  levelreadlessthan 110mg/dlwonly3outof150tim es,ovet180mg/x 41times,and as
  highas407mg/dL.3J.d-,!!30-32.Despitethesehighlevels,anddespitehavingtheauthority
  to do so,theN lzrseD efendantsrefused to provide Hixson with ororderinsulin orother

  necessarycliabedcm edication.Lda!!37-38.TheNurseDefendantsdi
                                    .                        dtlnisdespiteknowing
  theriskstoHixson.J-da!45-46.
            Hixson com plained to D r.M oran aboutthepain expedenced due to notreceiving
        E

  insulin.Ld.a! 117.Hixson also complainedto theNurseDefendantsaboutthepain he
  experienced.Ldx!!66-67.InsteadoftreatingHixson,however,Raynesthreatened Hixson
  with segregadon,wllich Seekford approved,and asked HRRJ depuéestoputHixsonin
  segregadon becausehe continued to com plain aboutnotreceiving propertrea% entforllis

  diabetes.J.Z !! 68-73.Rayneswasnotdisciplined forthreateningHixson with segregaéon.
  Id.!70.
            Sim ilarly,D z.M oran reviewed Hixson'sm edicalêecordsand knew heneeded inslllin.

  Ld-,!!117,119.W hileDr.Moranins% ctedthestaffto serveHixson adiabedcmealand
  .




  personally yeviewed H ixson'selevated blood-sugarlevels,he zefqsed to provide H ixson with




  3Tfmg/dta''isa,
                nabbreviadonformilligramsperdeciliter.SeeScintov.Stansber ,841F.3d219,227(4thCir.2016).
                                                       3
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 4 of 19 Pageid#: 1511




  insulinorothetdiabetesmedication.JA !!118-24.Dt.Morantefusedtoprovidetteatment
  toHixsondespiteknowingthetisksoffmilingtoptovideI-lixsonwithinsulin.Id.!I
                                                                          ! 127-29.
           BecausehewasnottzeatedatHRRJ,Hixson suffeted seveze,ptolonged pain
  thzoughoutlnisfeet,hands,and legs,suffered from bllarred vision and ringing in hisearsfor

  hisentitestay atHRRJ,and cktttently suffetsftom otgan damageandfeatsashottened life
  expectancy dueto organ damage.J-l.
                                   LIJ100.
           TheSAC contains six counts.Count1,pled againstD r.M ozan and the N urse

  D efendantsin theirindividualcapacities,allegesSection 1983 clqim sbased on aviolation of

  H ixson'sEighth Am endm entrights.CountII,pled againstD r.M oran,theN tzrse

  D efendants,and SH P,allegesstate-law m edicalm alpracéce.Count111,pled againstSH P,

  allegesstate-law res ondeatsu eriorliabilitp CountIV ,plead againstthe M unicipal

  D efendants,allegesaM onellclaim based on aviolation ofH ixson'sEighth Am endm ent

  rights.CountV,pledagainstDr.M oran,theNurjeD efendants,and SHP in theizindividual

   capacides,seekspunitivedam ages.Finally,CountVIseeksattorneys'feesagninst

  unspecifed pardes.

                                          II.      M otionsto D ism iss

           The N urse D efendants4and M unicipalD efendantsm ove to clisnlissallcountsagainst

   them intheSAC underFedetalRuleofCivilProcedure12q$(6).
                                           A.      LegalStandard

           Rule12q$(6)pezmitsaclisnlissalwhenaplaintifffailsfçtostateaclqim uponwhich
  reliefcanbegranted.''Fed.R.Civ.P.129$46).TosurviveaRule129$(6)motion todismiss,

   4TheNurseDefendantsmovedtodismiss:11cbimsagainstthem,butdonotarguewhethertheyaresubjecttopotendal
   attom eys'fees orp'tnl
                        'dve dam ages.Because theseissueshavenotbeen rzsed,thecouz.
                                                                                  ttakesno posidon on thezn.

                                                          4
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 5 of 19 Pageid#: 1512




  acom pldntm ustcontain sufficientfffactsto state a clqim to teliefthatisplausible on its

  face.''BellAtl.Co .v.Twombl 550U.S.544,570 (2007).Thecomplaint'stfgilact-ual
  allegationsm ustbe enough to raise azightto reliefabovethe speculadve level.''1d.at555.

          A courtm ustconstruefactualallegaddnsin thenonmovingparty'sfavozandwill

  tteatthem astrue,butisfKnotso boundwith respectto gacomplaint'sjlegalconclusions.''
  D ist.28 United M ineW ozkersofAm . Inc.v.W ellm ore CoalCo .,609 F.2d 1083,1085

   (4th Cir.1979).Indeed,acourtwillacceptneitherTflegalconclusionsdrawn from thefacts''
  notffunwarranted inferences,unreasonable conclusions,ozargum ents.':E.Shore M kts..Inc.

  v.J.D.Assocs.Ltd.P'ship,213F.3d175,180(4thCir.2000).Further,ffgjhteadbarerecitals
  oftheelem entsofacause ofaction,supported by m ere conclusory statem ents,do not

  suffce.''Ashcroftv.1 bal,556U.S.662,678(2009).Orllyaftezaclnim isstated adequately
  m ay itthen (Tbe supported by showing any setoffactsconsistentw1t.11the allegadonsin the

   com plnint-''Twom bl ,550 U .S.at563.

     B.     Count1:Violation ofH ixson's Eighth Am endm entRights Pursuantto 42
                                         U.S.C.j1983
          Tostateaclnim under42U.S.C.j1983,aplainéffmustallegetheviolation ofaright
   secured by theConstitution orlawsofthe United Statesand m ustshow thatthe deprivation

   ofthatrightwascom m itted by aperson acdng undercolorofstatelaw .Crosbyv.City of

   Gastonia,635F.3d634,639(4thCiz.2011)(ciéngW estv.Atkins,487U.S.42,48(1988)).
          A person acdng undercolorofstatelaw ffm usteitherbe astate actorozhavea

   sufficiently closerelationsltip with state actorssuch thatacouttwould conclude thatthe

   non-stateactorisengagedin thestate'sactions.''DeBauchev.Ttani,191F.3d 499,506 (4th
   Cir.1999).Accordingly,Trgtlhecoloroflaw reqptitementexcludesfrom thereach ofj1983
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 6 of 19 Pageid#: 1513




  allfm etely private conduct,no m attethow disctim inatory otwtongful.'':Rossi olv.

  Voorhaaz,316F.3d516,523(4tlnCir.2003)(quoéngAm.Mfrs.Mut.Ins.Co.v.Sullivan,
   526U.S.40,50(1999)).ffrllheultimatequesdonofwhetheranactorwasastateactotoâ
   funczoningunde:colotoflaw isaquestion oflaw fozthecovut.''Goldsteinv.Chestnut

  ltid eVolunteezFireCo.,218F.3d337,344n.7(4th Cit.2000).
            In theirM odon to D ism iss,theN utseD efendantsflzstsuggestthey arenotam enable

  to Secdon 1983 liabilitybecause they werenotstate actors.M em .Supp.M ot.Dism iss

   rtNtlrseDefs.'MTD Br.''),ECF No.113,at4.TheNurseDefendantsarguethatthey
   ffrendered health careservicesundertheditecéonofSHP managem enty''aprivateenéty.Ldx
            Thereate fourcircum stancesunderwhich a privateparty witlbe deem ed a state

   actor:

            (1)when the sfatehascoezced theptivate actorto comrnitan actthatwould
            beunconstitutionalifdonebythestate;(2)whenthestatehassoughttoevade
            aclearconsdtutionalduty through delegation to aprivate actor;(3)when the
            state has delegated a traditionally and exclusively public function to a private
            actor;oz (4) when the state has committed an unconsdtaztionalactin the
            course ofenforcing a rightofaprivatecitizen.

   DeBauche,191F.3d at507(quotingAndtewsv.Fed.HomeLoanBank ofAt1.,998F.2d
   214,217(4th Cit.1993));seealsoNuzseDefs.'MTD Br.5(ciéngDeBauche);Pl.'sResp.
   Opp.Mot.DisnaissNurseDefs.(Tfopp.NurseDefs.'MTD'),ECF No.142,at4-5(same).
            TheSuprem e CourthasTfm ade clear...thattheprovision ofm edicalserdcesto

   prison inm atesistraditionally the exclusiveprerogadveofthe state.''Connerv.D onnell ,42

   F.3d220,224(4t.
                 h Cir.1994).Moreover,theU.S.Consét-ution requiresVitginiaffto provide
   adequatem eclicalcare to itsprisonersbecauseprisoners,due to theirincarceraùon,cannot



                                                     6
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 7 of 19 Pageid#: 1514




  obtain m edicalcate on theitown.''Ltk (citingEstellev.Gamble,429U.
                                      .                            S.97,103-04
  (1976)).
         InW estv.Atkins,487U.S.42,54 (1988),theSuptemeCouttconft'medthaystate-
  employed m edicalpzofessionalswho providem edicalservicesto inm atesaze stateactozs.

  Moteovet,ffgtlhefactthattheStateemployed Fhedoctor)ptusuanttoacontracmal
  arrangem entthatdid notgeneratethesam e benefitsorobligationsapplicableto otherTstate

  em ployees'doesnotaltertheanalysis.''Id.at55.Instead,courtsm ustexannine the m edical

  professional'sfffuncdon within the state system ,nottheprecise term soflzisem ploym ent.''

  1d.Accordingly,f<aprivatephysicianundercontractwith (astatejtoprovidem edicalservices
  to prison inm ates,butnotem ployed directly by the state,nonethelessactsunderthe colorof

  state1aw when treating an inmate.''Conner,42F.3dat224 (citingW est,487U.S.at54-57).
         The Fourth Circtlithasfurthetexplained W est,holding thataphys
                                                                     /
                                                                       ician ffwho treatsa
                                                                       .




  prisoneractsundercolorofstatelaw even though thetew asno contracm alrelationsbip

  between the prison and thephysician.''Id.at223.lnstead,itisdispositivethatthestate-m n

  prison referred a prisonerto thephysician and paid the physician to renderm edicalserdces

  to theprisonez.1d.at225.Thisisbecause the state authozizestheindependentphysician to

  provide inm ateswit
                    .h m edicalcaze,and theinm atesate fozced to acceptthe treatnent

  offered.Id.

         TheN urseD efendantscontend thattheywere controlled by SH P,a private entity,

  and therefoze cannotbe stateactors.N urseD efs.'M TD Br.5.A sConnerm akesclear,

  however,theN urseD efendants'ditectem ployerisnotdisposiéve.TheN tuseD efendants

   frassumegdjthestate'sconsdttztionalobligaéon to providemedicalcaretoitsprisoners.''
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 8 of 19 Pageid#: 1515




  Connet,42 F.3d at224.Any m edicalptofessionalTfauthorized by thestateto provide

  m edicalcare to a prisonerexercisespow erthatistradidonally theexclusiveprerogative of

  thestate.''ld.at225.Heze,Hixson pleadsthatHRRJauthorizedtheNurseDefendantsto
  providecatetoHRRJinmates.SAC !! 19-20.Attlaepleadingsstage,thisallegation is
  suffkientto establish thattheN urseD efendantsarestate actorsforpurposesofSecéon

  1983.

          The only rem aining question isw hetherthe factthatthe N urseD efendantsare

  nurses,ratherthan doctors,m akesany differencesitlthe analysis.Itdoesnot.Prison nlzrses

  areamenableto stlitunderSection 1983.SeeSmithv.Snaith,589F.3d736,740 (4th Cir.
  2009)SolclingthatnlzrsecouldbeheldliableunderSection1983tbrdestroyingfozm that
  causedpzisonetto bedenied prescribedmedication).Liabilityforprivatedoctorsunder
  Connerispredicated upon the privatedoctorsperfot-ming affpublic funcdon7'- thatis,the

  provision ofm edicalservicesto inm ates.D eBauche,191F.3d at507;see also Conner,42

  F.3d at224.H ere,H ixson pleadsthattheN urseD efendantsstepped into theshoesofthe

  statebyprovidingmedicalcareto HRRJinmates.UnderConner,therefore,theNurse
                      '
                                             (
                                             1
  D efendantsare state actors.

                            C.     CountII:M ei calM alpêactice

          In thecourt'sFebt'uary9,2018Memorandlnm Opiion ttheffMemorandum
                                             )
  Opinion'),thecourtconcluded thatbecauseI'Iixson pleadedthat<<Dr.M ozan wasemployed
  by Rockingham Countyy7'H ixson'sm edicalm alpracdce clnim sw ere barred by sovereign

  im m unityinsofarasthosecbim ssounded in ordinary negligence.H ixson v.H utcheson,N o.




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Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 9 of 19 Pageid#: 1516




  5:17-cv-00032,2018W L 814059,at*6(W.D.Va.Feb.9,2018).TheNutseDefendants
  sim ilatly cbim thatthey azeenétled to soveteign im m unity.N m seD efs.'M TD Bz.7.

         A tthe thteshold,the courtalso held thatD z.M oran could beheld liable form edical

  m alpracticesounding in grossnegligence,and,flpt-tber,H ixson had adequately pled gross

  negligenceagainstD z.M ozan.H ixson,2018W L 814059,at*5-8.Them edicalm alpractke

  clqim sagainstthe N utseD efendantsatise fzom the sam e undetlying factsasthem edical

  m alpracticecl/im sagainstD r.M oran.Asthe court'sanalysisin thepreviousM em orandtma

  O pinion appliesequallyhere,thecotzrtholdsthatthatthem eclicalm alptacticeclnim sagainst

  the N urse D efendantscannotbe disnnissed insofarasthey sound in grossnegligence.

         M oreovet,the cotutpredicated itsanalysisin theM em orandum Opinion upon

  HixsonpleadingthatDz.Moranwasastateemployee.Seeidxat*6rfThecourtwillconsider
  astt'tzeHixson'sallegationsthatDr.M oranwasan employeeofHRRJ.').ThecourtappEed
  theJamestestto detezmineifDr.M otan,astatephysician,could availhim selfofimmunitp
  Id.at*5(citingMessinav.Blzrden,228Va.301,313,321S.E.2d657,663(1984);James
  v.
   lane,221Va.43,53 267S.E.2d 1û8,113 (1980)).Butffthelamestestisnotapplicableif
   theindividualisan independentcontractoêand,thus,notan em ployee oragentofthe

   Commonwealth.''Atkinsonv.Sachno,261Va.278,283,541S.E.2d902,905(2001).
         ltisusuallyforthejurytodetermineifapersonisanindependentcontractozoran
   em ployee,butffwhen rthe evidence adrnitsofbutoneconclusion,the quesdon isoneof

  law.'''Id.at284,541S.E.2d at905(quoéngHadeedv.M edic-24,Ltd.,237Va.277,288,377
   S.E.2d589,594 (1989)).TheSupremeCourtofVitginiarequitescourtsto useafour-factor
   testto detezmineifamedicalpzofessionalisastateemployeeoracontractor:rT(1)selecdon

                                                9
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 10 of 19 Pageid#: 1517




   andengagement;(2)paymentofcompensadon;(3)powerofdismissal;and(4)powetto
   controlthewotkoftheindividual.''Id.at28* 85,541S.E.2dat905(citingHadeedv.
   Medic-24,Ltd.,237Va.227,288,377S.E.2d589,594-95(1989)).Thefoutthfactot- the
   powerto control- isdetet-m inadve.Id.

         The N tlrseD efendantsrelyon certain allegationsin the SAC thatthey potttay as

   ptoofthatHRRJhad thepowettoconttoltheitwozk.Theypointto theallegaionsthatthe
   NurseDefendantsweteffemployedby LSHP)to pzovidem edicalcateto theinm atesof
   HILRJ,''SAC !! 10,13,thatHutcheson andDr.Moranwerefftllehnaldecisionmakergsjwith
   respecttoorderingctiabedcmedicationa''ida!! 129,142,andthatHRRJenactedapolicyto
   preventdiabedcsfrom receivingmedicine,ida!! 144,146.SeeReplyPl.'sResp.Opp.Nurse
   D efs.'M TD ,ECF N o.143,at4.

         ButHixson also pleadsthatD efendantsexercised thei.
                                                           rown authorityin the cazeof

   Hixson.H ixson allegestheN urseD efendantshad the authority to orderand provideH ixson

   with medicine,yetrefusedto do so.SAC !!33-44.Further,HixsonallegestheNlzrse
   D efendantsrefused to requestthatD r.Moran provideHi
                                     .                xsonwithmedicadon.Lda!jg60-
   61.And H ixson allegesRaynesthreatened to place H ixson in segregation forcom plaining

   abouthism edicaltteatm ent.Ld=!! 68-76.
                              .




         W ith theseconflicting allegaéons,the couztcannotconclude asa m atteroflaw that

   HRRJ controlled theNtuseDefendants'workand,therefore,cannoton thepleaclingshold




                                                10
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 11 of 19 Pageid#: 1518




   thattheNutseDefendantsareemployeesozagentsofthestatesubjecttosoveteign
   im m unitps

                                     D.       CountIV:M onellClaim s
           H ixson'sSAC taisesnew M onellclqim sagainstRockingham and Hattisonburg.In

   Monellv.New YorkCi De ar% entofSocialServices,436U.S.658,690(1978),the
                                                    F
   Suprem e Courtheld thatm unicipalidesand localgovernm entsare ffpersons''susceptible to

   Secdon 1983 liability.See also Berkle v.Com m on CouncilofCi ofCharleston,63 F.3d

   295,296 (4t.h Cir.1995).ButamunicipalitymayonlyfaceSecdon 1983 liabilityffwhen
   execudon ofagovernm ent'spolicy orcustom ,whetherm adeby itslawm akersotby those

   whoseedictsoractsmayfairlybesaidtorepresentofficialpolicy,inflictstheinjury.''Spellv.
   Mcbaniel,824F.2d 1380,1385(4th Cir.1987)(quodngM onell,436U.S.at694).W hilethe

   tfpolicy''isgenerallyfound fdit'lmunicipalordinancegoz)reguladonsy''theoffendingTfpolicy''
   m ay ffalso be found in form alorinfo= alad hocfpolicy'choicesordecisionsofm unicipal

   officialauthozizedt% makeandim plem entm unicipalpolicp''J1LBecauseM onellliability
                                                                              -.




   onlyattacheswhenthemunicipalityenactsofficialpolicythatcausesaconstitutionalinjuty,
   ffliabitity attachesonly where the decisionm akerpossessesfinalauthority to establish

   m unicipalpolicywith respectto the acdon ordered.''Pem baurv.Ci ofCincinnati,475 U .S.

   469,481(1986).
           Thecotutlooksto statelaw when deterrnirling ifan ofhcialhad finalpolicym aking
                                                                            Nx

   authority.Seeidsat4839W einerv.Albem arleCty.,V a.,N o,3:17-cv-00046,2018W L

   5Athzstblush,itm ay seem contradictory thattlze NurseD efendantscan be state actors forSecdon 1983 pum osesbut
   potendallyprivate actorsform edicalmalpracdce pum oses.Tlzisclistinction arisesfrom the ozigm
                                                                                               ' ofthe cbim sand
   defenses,however.Tizecourtlooksto federal1aw to determinewho isa state actorforSecdon 1983 pum oses.M edical
   m alpractice,however,isa state clqim .Virgml
                                             ' 'alaw determ ineswho m ay avat
                                                                            '
                                                                            lthem selvesofsoverèign imm llnity for
   m eclicalm alpractke.               '
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 12 of 19 Pageid#: 1519




   542979,at*5(W .D.Va.Jan.24,2018).Theultimatefdquestioniswhethetthegoffkialqwasa
   finalpolicym akerfoz the local overnm entin gpqt-ticularatea,oron aparécularissue.''

   W einer,2018W L 542979,at*5(quoéngLanev.Anderson,660F.App'x185,197(4thCir.
   016).In makingthatdete= ination,thecourtfdmustlookto therelevantlegalmaterials,
   including state and localposiévelaw,aswellascustom otusagehaving thefozceoflam ':

   ltiddickv.Sch.Bd.ofCi ofPortsmouth,238F.3d 518,523 (4th Cir.2000).M oreovet,Tfgaj
   m unicipalpolicym aybe pronounced ortacitand reflected in eitheraction orinaction,either

   way,(ajèjbindffmustallegeitwith facmalspecifkity,ratherthan bybareand conclusory
  ,
   statements.''Vailv.CityofNew York,68F.Supp.3d412,431(S.D.N.Y.2014)(internal
   citadonsandquotadonsomitted).Finally,f<asuitagainstagovernmentalofficezin lzisoffkial
   capacityisthesameasasuitagainstgthejenétyofwhich gtheqofficerisan agent,and that
   victoryin such an offkial-capacitystzitimposesliabilityon theendtythatgtheofficer)
   tepresents.';M cMillanv.MonroeCty.,Ala.,520U.S.781,785n.2(1997)(alterationsin
   original)(internklquotationsand citationsomitted).
          Hixsonultimatelyallegesthatthepolicycomplained ofwasapolicy ofHRRJ:
   ffplaintiffalleged thatHRRJhad apolicy,pez...Hutcheson and ...Dr.M oran,ofdenying
   inamates...diabedcmedicadonbecauseofthehkhcostofthatmeclication.''P1.'sConsol.
   Resp.Opp.MunicipalDefs.'Mot.DismissrfMunicipalDefs.MTD Opp.''),ECF No.156,
   at13.Hixson isallegingthat130th Hutcheson andDr.M oranwerepolicym akersforHILRJ,
   which,H ixson cbim s,czeatesliability fortheM unicipalD efendantsunderM onell.




                                                12
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 13 of 19 Pageid#: 1520




                              1.   M unicipalIaiability forH RRJ
           TheSAC allegesthatJTHRRJwasarregionaljail'''underVa.CodeAnn.j53.1-105.
   SAC !132,andthatHutchesonwasthejailadministtatot,Ld.,a!126.Hixsoncoztectlynotes
   thatVitginialaw tequitestegionaljailsupetintendentsto Tfputchaseatpticesaslow as
   teasonablypossible...such clothingandmedicineasmaybenecessaty.''ld.!(127
   (emphasisornitted)(quoéngVa.CodeAnn.j53.1-126).Hixsonalsocorrectlyquoteswho
   paysforthem edication:

           Fjnvoicesoritemimed statements ofaccount from each vendoz ofsuch ...
           medicinesshallbeobtainedbythesherifforjailsuperintendentandpresented
           for paym ent to the governing body of the city or county or,in the case of
           regionaljails,theregionaljailauthority or,ifnone,thatbody tesponsible for
           the fiscalmanagementoftheregionaljails,which shallbe responsibleforthe
           paym entthereof.

   Id.!131(secondalterationinoriginal)(emphasisonaitted)(quodngVa.CodeAnn.j53.1-
   126).
           ButHixson nnisappliesthelaw in concluding thatthe M unicipalD efendantsm ustbe

   theultimatepolicym akersforM onellpurposes.UnderVirgitnialaw,theultim ate operatorof

   ajailmusteitherbearegionaljailauthorityorboard,seeVa.CodeAnn.j53.1-106(A),or
   thesheriff,seeid.j53.1-116.2.In eithercase,amunicipalityisnottheoperatorofthe)
                                                                                *a1
                                                                                  7,
   andcanpotbeheldliableunderMonellforthepoliciesinstittztedbythejail.SeeStricldezv.
   W atezs,989F.2d1375,1390(4thCir.1993)(citynotliableundetMonellforsheriff's
   operationofjaill;Gtasonv.Peed,195F.3d692,697(4th Cir.1999)(countynotliable
   underM onellforsherifpsopeyadon ofjaill;Thornllillv.A loz,N o.3:15-CV-00024,2016
                                                                                 /
   W L 8737358,at*6(W.D.Va.Feb.19,2016)(findingaMonellcllim cotzldbepled against
   theregionaljailauthority).
                                                13
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 14 of 19 Pageid#: 1521




           Unsum tisingly,the coutthasbeen unableto fm d any casein which aM onellplaintiff

   complainingofinjuriesatisingoutofan allegedpolicyinaregionaljailhassuedthe
   mutlicipalitytesponsible foztheûscalmanagementoftlaetegionaljail.Instead,these
   plainéffsinvadablysuethetegionaljailauthorityozboatd.Hixsonaffltmaévelyallegesthat
   HRRJisaregionaljail.Assuch,anyM onellliabilityfortheallegedpoliciesofHutcheson
   andDr.Moranextendspnlytothetegionaljailboatdorauthoritp6
           Atoralatgum ent,H ixson counteted thatSecdon 53.1-126 suggeststhepossibizty

   thatamunicipalitycan opetateategionaljail,zelyingon thefollowinglanguage:ffrllhe
   regionaljailauthorityot,ifnone,thatbodyresponsibleforthehscalmanagementofthe
   regionaljails...shallberesponsibleforthepaymentof''certain invoices.Va.CodeAnn.
   j53.1-126.HixsonarguesthattheTfifnone''languageleavesopen theabilityofa
   municipalitytonzn aregionaljail.
           Hixson rnisintem retsSection 53.1-126.ThatSection concernspaym entofcertain

   invoices,notthelegaloperatorofaregionaljail.Notably,theSectbnzeqllirestheTfbody
   responsibleforthefiscalmanagementoftheregionaljailg''to pay fortheinvovices,notthe
   bodyzesponsiblefortheoperaéon oftlaeregionaljail.
           Instead,Secdon53.1-106governsthelegaloperatorofaregionaljail,andmandates
   thatTtgejachregionaljail...shallbesupervisedormanagedbyaboatdorauthoritp''Id.

   6BecauseHixsonhasnotsuedtheHRR.
                                 Jboardorautlzozity,thecourttakesnoposidonastowhetherthatboardor
   authorityisam enableto suit.'
                               I'
                                hecourtnotes,how ever,conflice g case1aw on thatissue.Com areD alesv.Ha siRe 7
   Jail,2016WL7168278,at*1(W.D.Va.Dec.8,2016)(dismissingclqim againsiregionaljailbutnotingthatf<a
   governmentalendty,suchasaregionaljailauthority,isliableunderj1983onlywhentheenétyitselfisaf movingfozce'
   behindthedeprivadon');Newbroughv.PiedmontReg'llailAuth.,No.3:10CV867-HEH,2012WL 12931710,at*2
   (E.D.Va.Jan.12,2012)(notingtlutapardcularregionaljailauthorityRhaslidgatednolessthanhfteentimesin''the
   Eastem DistrictofVirginial,withPninterv.BlueItidgeReg'l1a11Auth.,No.6:17-cv-00034,2017WL3725993,at*5
                              .
                                                  ''*'   v   *'

   (W. D .Va.Aug.29,2017)(holdlngthata,regionuljailauthodtyffisnotsubjecttosuitundezj1983becauseitisanarm
   oftheCommonwealthofVirginia''andcollecdngcases).
                                                             14
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 15 of 19 Pageid#: 1522




   j53.1-106 (emphasisadded).Tllislanguageismandatory.Seèéon 53.1-106leavesno toom
   foramunicipalityto operatearegionaljai1.Moreover,HixsonignoresthatSection 53.1-106
   allow seithetan authozityptaboard to l
                             -          'unazegionaljail.Themostnatm alzeadingofthe
   languageatissueisthatifazegionaljailisgoveznedbyaboard,mtherthan an authority,
   thentheftbodytesponsibleforthehscalmanagementofthezegionaljailg''shallpayforthe
   invoices.

          The casesupon which H ixson reliesalso failto salvagellisclnim sagainstthe

   M unicipalD efendants.Hixson'srelianceon Thotnhillv.A lor,N o.3:15-CV-00024,2016

   WL 8737358 (W .D.Va.Feb.19,2016),isespeciallymisplaced,asThornlnillsupportsthis
   court'sanalysis.Hixson iscertainly correctthattheThornlnillffcom plaintplausibly alleged

   thatthesuperintendentwasapolicymakeratthejailauthoritp''MunicipalDefs.MTD Opp.
   15(citingThornlnill,2016K 8737358,at*7)9seealso Thornhill,2016K 8737358,at*6
   (<fThecourtfindsthatthecompllintcontainssufficientfactualallegadonsto supportthe
   clsim thattherewasan offkialpolicyofdeliberateindifferenceatCVRJ,specificallybased
   on gthesuperintendent'sjinactionsasitspolicym aker.').But,asisrelevantheze,thatisall
   Thornlnillheld:A regionaljailsuperintendentisapolicymakerfortheregionaljailauthozity.
   Thereisno suggestion thataregionalsupezintendentisapolicym akerfozthe constim tive

   membezsoftheregionaljailauthority.ln fact,theThoznhillplaindffdid notsuethe
   consdtutive m em bers.

          Forthesamereason,Hixson'sappealtoNewbrough v.PiedmontRegionallail
   Authority,822 F.Supp.2d 558(E.D.Va.2011),vacatedin parton othergtoundsby2012
   W L 12931710(E.D.Va.Jan.12,2012),faresno better.Again,theNewbrou h plaindffsued

                                                 15
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 16 of 19 Pageid#: 1523




   thetegionaljailauthotity- nottheconstituévemunicipalities.Newbtou hheldthat,atthe
   m oéon to clismissstage,ffthe Com tcan teasonably infe:that,asthehighestuanldng ofûcet

   atPiedm onty egionallailAutlaotity),SuperintendentToney'sactsand edictsconsétuted
   offkialpolicy.''Ld.aat586.Accotdingly,Newbzoughfoundthatthetegionaljailauthotitywas
   responsible forthepoliciesofitssuperintendentunderM onell.Id.Theze isnothing in

   Newbrou h suggesdng thattheconstitutivemunicipalideswerealso subjectto Monell
   liability.

           Addidonally,Hixson claim sthatSection 53.1-126 created a fiduciaryrelationship

   between Hutcheson and theM unicipalD efendants,such thattheM unicipalD efendants

   dtwerethe Escalagentsand thep!)-
                                  ly entiéesforwlzich these policiescould be designed to
                                  .




   benefh.''M unicipalD efs.'M TD Opp.17.

           Othercourtshaveconsideredandrejectedsimilatarguments.lnAlfaro-Garcia,
   plaindffatgued ffthatbecause H emico County fundstheoperadon ofthe sherifpsoffze,the

   sheriff'senforcem ento'fim m igtation detainersnecessarily constim tesapolicy ofH entico

   Countyitself.''Alfaro-G arcia,2016W L 5388946,at*8;g-iM unicipalDefs.
                                                         .             'M TD Opp 15

   rfplaintiffpledthatHRRJ'Spolicywasfairlyattributableto M unicipalDefendants),the
   stamtoryfiscalagentsofHRRJresponsibleforpayinginmatemedication.').Relyingon
   Strickler,Alfato-Garciarfutterly''rejectedthisargument.Id.ffAlthough Vizginialaw may
   obhgatetheCitytoprovidefozthephysicalupkeep ofthelail,itdoesnotrendertheCity
   liablefortheoperationswithin- thatisthesole urview ofgthesheriffl.''Id.(quodng
   Slee erv.Ci ofRichmond>No.3:12cv441>2012W L 3555412>ai*8(E.D.Va.Aug.16,



                                                 16
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 17 of 19 Pageid#: 1524




   2012:.Thiscotzrtagtees:thefactthattheMunicipalDefendantsfinanciallysuppotted HILRJ
   isinsuffkient,in and ofitself,to im puteM onellliabl
                                                      'lity on the M unicipalD efendants.

           Insum,underVirginialaw,ajailmayonlybeoperatedbyaregionaljailauthorityor
     î
     à
   board,orbyasheriff.W hilethoseentdesmaybesubjecttoM onellliability,thereisno basis
   upon which to extend such Eabilityto theM unicipalD efendants.

                                                        D r.M oran

           Finally,Dr.M oran'salleged policy ofrefusing to give diabedc inm atesinsulin does

   notttiggerM onellliability fortheM unicipalD efendants,form uch the sam ereasonsas

   discussed above.To be sure,H ixson pleadsthatD r.M oran w asan em ployee of

   Rockingham.;SAC !!101,106;Am.AnswerofDefs.Hutcheson,Shortell& Moran,ECF
   No.41,!6.Thatfact,however,doesnotendthestory.
           Hixson arguesthat<TDr.M oran wasthefinaldecisionmakeratHRRJwithtegardsto
   prescribing diabedc m edicadon to insulin-dependentdiabetics.''M unicipalD efs.M 'FD O pp.

   16(ciéngSAC!!139Q 1).Ftuther,HixsonclnimsthatDy.Moranwas(Ttllefinal
   decisionm akerwith zegatdsto ordering diabeéc m edicadon and whethezRockm ingham

   gorj...Harrisonburgwouldabsozbthecostsofdiabedcmeclicadon (includinginslzlin)
   because,interalia,ordering diabeticmedicationisinextdcablefrom thecity/countypaying
   forsaid medication.''Id.at17 (cidngSAC !! 142-43).Hixson concludesthattheSAC ffat
   leastplausiblysuggestgsjthatDr.M oran wasthefmaldecisionmakerwithzegardsto
   prescdbing andorderingdiabeticm edication thattheM unicipalDefendantsjwould b,eon
   thehookfon''1d.(citadonsomitted).

   7Atoralargum ent Hixson indicated thatdiscovery suggestsD r.M oran isactually controlled by SHP.'
                                                                                                   Ihatallegadon is
   notin the SA C,however,and the courtwillnotconsiderit.
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 18 of 19 Pageid#: 1525




         Hixson'sargumenthastwocomponents:(1)Dt.Motanwasthefinalpolicymakerfot
   HILRJwithregatdtoptesctibingdiabedcmedicadon,and(2)Dr.Motanwasthehnal
   policymaketforHRRJwith regard to otdetingcliabedcmedicaéon.Neithetcomponent
   statesa M onellcleim agdnsttheM utlicipalD efendants.

         Forptzm osesofam oéon to dismiss,the courtacceptsthatD r.M oran w astheiinal

   policymakerforHRRJwithregard toprescribingdiabeticmedicaéon.ButHixson's
   allegationisthatDr.M oranwasthefinalpolicymakerforHRRJ.Asthecourtconcluded
   above,theultimateoperatorofHRRJmusteitherbetheregionalboardozauthorityorthe
   sheriff.The courthasalteady held thatM onellliability,to the extentitexists,attachesto one

   ofthoseenddes- and nottheM unicipalD efendants.Thatholding doesnotchange because

   H ixson cllim sthe alleged policy cam efrom D r.M ozan instead ofH utcheson.

         Thecourtisnotrequired to acceptthatD r.M oran wasthe finalpohcym aker for

   HILRJwit.
           hregardtoorderingdiabeticmedication,however,becausebystataztethejail
   superintendentorsheriffisresponsible.Va.CodeAnn.j53.1-126.Hixson adnaitsasmuch.
   SeeSAC !127(quodngVa.CodeAnn.j53.1-126);MurlicipalDefs.M'FD Opp.16.Asa
   m atteroflaw,D r.M oran cannotbe the fm alpolicym akerforordering diabeécm edicadon.

   Even ifhewere,thecoutthasalready held thattheM unicipalD efendantscannotbeliable

   underMonellforthemedicaéon ordetingpoliciesofHRRJ.
                                        111.   Conclusion

          Hixson'sallegationsare sufficientto deny theN urseD efendants'm odon to disnniss

   in itsentitety,butH ixson failsto plead clnim sagainstthe M unicipalD efendants.The cokut

   willD EN Y the N urseD efendants'm oéon to disnniss.ThecourtV IIGRAN T with


                                                18
Case 5:17-cv-00032-MFU-JCH Document 166 Filed 08/03/18 Page 19 of 19 Pageid#: 1526




  prejudicetheMunicipalDefendants'modonstodismiss.Finally,thecourtwillGRANT
  withoutprejudice defendantsHutcheson andShortell'smotion to disnaiss,astheSAC does
   notcontain cl/im sagainstthem .


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                                         ClliefUnited Sta, sD istrict-lpdg.
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